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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

TERRY JONES,

        Plaintiff,

v.                                                       Case No. 8:18-cv-01092-T-27AEP

STERLING JEWELERS INC. D/B/A/
KAY JEWELERS AND GENESIS CARD
SERVICES, INC.,

      Defendants.
___________________________________/


                                          ORDER

        BEFORE THE COURT is the Joint Stipulation of Dismissal with Prejudice (Dkt. 23).

Upon consideration, this case is DISMISSED with prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii). All pending motions are DENIED as moot. The Clerk is directed to

CLOSE the file.

        DONE AND ORDERED this 12th day of October, 2018.



                                          /s/ James D. Whittemore
                                          JAMES D. WHITTEMORE
                                          United States District Judge
Copies to: Counsel of Record
